         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:06CR260


UNITED STATES OF AMERICA                )
                                        )
                                        )
                 VS.                    )             ORDER
                                        )
                                        )
OMAR EDUARDO MARTINEZ                   )
SANTACRUZ                               )
                                        )
                                        )


      THIS MATTER is before the Court sua sponte to continue the

sentencing hearing scheduled for Wednesday, February 28, 2007, at 9:00

AM.

      IT IS, THEREFORE, ORDERED that the sentencing hearing

scheduled herein is continued to the Court’s next sentencing term.

                                    Signed: February 22, 2007




   Case 1:06-cr-00260-LHT-DLH   Document 28    Filed 02/22/07   Page 1 of 1
